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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
______________________________________
                                        :
Tinessa Armock,                         :
                                        : Civil Action No.: Case No. 1:14-cv-00970-JTN
                     Plaintiff,         :
       v.                               :
                                        :                                                          (
Alliance Health Networks, LLC,          :
                                        :                                                          (
                     Defendant.         :                                                          D
______________________________________ :                                                           R
                                                                                                   H
                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed against Alliance Health Networks, LLC with prejudice and without costs to

any party.

 Tinessa Armock                                Alliance Health Networks, LLC

 /s/ Sergei Lemberg                            _/s/ Gary W. Faria ____

 Sergei Lemberg, Esq.                          Gary W. Faria, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 13, 2015, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the Western District of
Michigan Electronic Document Filing System (ECF), which sent notice of such filing to the
following:

Gary W. Faria, Esq.
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Troy, Michigan 48098-2648


                                             By_/s/ Sergei Lemberg________
                                                 Sergei Lemberg, Esq.
